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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------- x
  UNITED STATES OF AMERICA

                                                                          ORDER

                    - against -                                           Case No. 17-CR-664

  RICHARD LUTHMANN

                             Defendant.
  -------------------------------------------------------- x
  DEARIE, District Judge

             Defendant Richard Luthmann moves pro se for a sentence reduction pursuant to

  18 U.S.C. § 3582(c), ECF No. 262, and for modification of the terms of his supervised release,

  ECF No. 266. The motions are denied. As to the first, Mr. Luthmann fails to assert extraordinary

  and compelling circumstances warranting a sentence reduction. His expected release date is

  August 5, 2021, and he is vaccinated and therefore not at any material risk of severe illness from

  COVID-19. Even accepting his argument that he could still contract severe illness from a

  vaccine-resistant mutation of the virus, the Salvation Army RRC in Fort Myers, FL, where he

  currently resides reports zero active cases of COVID-19 and one recovered inmate. 1




  1
      See BOP, Covid-19 Cases, https://www.bop.gov/coronavirus/ (last visited June 23, 2021).
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         Regarding his second motion, the statements that Judge Weinstein made at sentencing

  which Mr. Luthmann challenges are not official conditions of his supervised release and, as the

  Government notes, are subsumed in the mandatory condition to refrain from breaking the law.

  The Government is also correct that illegality is not a proper ground for modification of

  supervised release under 18 U.S.C. 3582(e)(2). United States v. Lussier, 104 F.3d 32, 34-36 (2d

  Cir. 1997). It is hoped that as Mr. Luthmann begins to enjoy his return to relative freedom in the

  near future, he will devote his energies to more positive endeavors unlike the dubious

  applications now resolved by this Order.

  SO ORDERED.


  Dated: Brooklyn, New York                            /s/ Raymond J. Dearie
         June 23, 2021                                 RAYMOND J. DEARIE
                                                       United States District Judge




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